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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF VIRGINIA
                               CHARLOTTESVILLE DIVISION

   JOHN DOE and JANE DOE,

                 Plaintiffs,

   v.                                                 Case No. 3:22-cv-49-NKM-JCH

   JOSHUA MAST, et al.,

                 Defendants.


        NOTICE OF VOLUNTARY DISMISSAL OF DEFENDANT AHMAD OSMANI

         Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, Plaintiffs hereby

  provide notice of their voluntary dismissal of Defendant Ahmad Osmani from this action. This

  dismissal is without prejudice and, because Defendant Osmani has not yet served an answer or

  motion for summary judgment, may be accomplished without an order from the Court.

  Dated: July 30, 2024                Respectfully submitted,

                                      /s/ Maya Eckstein
                                      Maya M. Eckstein (VSB No. 41413)
                                      Lewis F. Powell III (VSB No. 18266)
                                      Kevin S. Elliker (VSB No. 87498)
                                      Michael R. Shebelskie (VSB No. 27459)
                                      HUNTON ANDREWS KURTH LLP
                                      951 E Byrd St
                                      Richmond, VA 23219
                                      Telephone: (804) 788-8200
                                      Fax: (804) 788-8218
                                      Email: meckstein@HuntonAK.com
                                      Email: lpowell@HuntonAK.com
                                      Email: kelliker@HuntonAK.com
                                      Email: mshebelskie@HuntonAK.com

                                      Sehla Ashai (admitted pro hac vice)
                                      ELBIALLY LAW, PLLC
                                      704 East 15th Street
                                      Suite 204
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                               Plano, TX 75074
                               Telephone: (312) 659-0154
                               Email: ashai@elbiallylaw.com

                               Blair Connelly (admitted pro hac vice)
                               Zachary Rowen (admitted pro hac vice)
                               LATHAM & WATKINS LLP
                               1271 Avenue of the Americans
                               New York, NY 10029
                               Telephone: (212) 906-1200
                               Email: blair.connelly@lw.com
                               Email: Zachary.rowen@lw.com

                               Ehson Kashfipour (admitted pro hac vice)
                               LATHAM & WATKINS LLP
                               555 Eleventh Street, NW, Suite 1000
                               Washington, DC 20004-1304
                               Telephone: (202) 637-2001
                               Email: ehson.kashfipour@lw.com


                               Counsel for Plaintiffs




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                                  CERTIFICATE OF SERVICE

         I hereby certify that on the 30th day of July, 2024, I electronically filed the foregoing with

  the Clerk of the Court using the CM/ECF system, which will send a notification of such filing to

  all CM/ECF participants.

                                                       By:     /s/ Maya M. Eckstein
                                                               Maya M. Eckstein (VSB # 41413)
                                                               Hunton Andrews Kurth LLP
                                                               Riverfront Plaza, East Tower
                                                               951 East Byrd Street
                                                               Richmond, Virginia 23219-4074
                                                               Telephone: (804) 788-8200
                                                               Facsimile: (804) 788-8218
                                                               meckstein@HuntonAK.com

                                                               Counsel for Plaintiffs




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